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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                             ATHENS DIVISION

JOSHUA R. MICHAEL, HILLARY A.   *
MICHAEL, and WILLIAM T. RUSSELL
individually and as trustee of *
the William T. Russell Inter
Vivos Trust,                    *

      Plaintiffs,                      *
                                               CASE NO. 3:19-CV-19 (CDL)
vs.                                    *

GRP MADISON LLC, GEORGIA               *
RENEWABLE POWER LLC, and
GREENFUELS ENERGY LLC,                 *

      Defendants.                      *


            IMPORTANT NOTICE REGARDING ELECTRONIC FILING

      If you received this Order by mail, you are not in compliance with the
Court’s electronic filing policy. In order to electronically file documents
with our court, you will need to register with our court by completing the
electronic registration form available on our website, www.gamd.uscourts.gov
(see the CM/ECF page for specific information on the electronic filing
requirements).

         IMPORTANT NOTICE REGARDING ELECTRONIC TRANSMISSION
           OF PROPOSED ORDERS, INCLUDING SCHEDULING ORDERS

      Proposed   scheduling  orders   must   be  emailed   to  the  Clerk   at
Columbus.ecf@gamd.uscourts.gov   for    Columbus   Division   cases   and   to
Athens.ecf@gamd.uscourts.gov for Athens Division cases, rather than filed
electronically.   All other filings shall be made electronically through the
CM/ECF system. All proposed orders (other than scheduling orders), in addition
to being electronically filed, should be e-mailed to the Clerk in word
processing format (not scanned) unless otherwise instructed by the Court.

   REQUEST FOR TEMPORARY STAY OF RULE 16/26 ORDER REQUIREMENTS

If a Motion to Dismiss and/or a Motion to Remand is presently pending and the
parties do not find it necessary to conduct discovery to support or oppose this
motion, the Court may stay discovery pending its ruling on the motion.
Therefore, if the parties seek a stay of discovery pending resolution of the
motion, they should file a consent motion within fourteen days of the date of
this Order seeking such a stay; and thereby avoid the filing of a Proposed
Scheduling/Discovery Order at this time.
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                           RULES 16 AND 26 ORDER

TO:   COUNSEL (OR PARTIES IF UNREPRESENTED BY COUNSEL):

      Your attention is directed to Rules 16 and 26 of the Federal

Rules of Civil Procedure and to this Court’s local rules.                The

Local      Rules     are    available      on    the     Court’s     website

(www.gamd.uscourts.gov).


        PROPOSED SCHEDULING ORDER/REPORT GENERAL REQUIREMENTS

      Rules 16(b) and 26(f) require the parties to confer, develop

a proposed discovery plan, and submit a report to the presiding

judge.    A scheduling order must then be entered.         You are directed

to confer within 30 days of the date of this Order to discuss the

contents and form of the Proposed Scheduling/Discovery Order.

      A joint report in the form of a single proposed scheduling

order is due for this case and must be electronically transmitted

to the Court via e-mail in word processing format (not scanned) at

Columbus.ecf@gamd.uscourts.gov for Columbus Division cases and to

Athens.ecf@gamd.uscourts.gov for Athens Division cases no later

than Monday, April 29, 2019.          If the parties cannot agree, the

proposed order shall state their differences and specify their

respective positions.       A party who cannot gain the cooperation of

the other party in preparing the proposed order should advise the

Court prior to the due date of the proposed order of the other

party’s failure to cooperate.



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     A proposed scheduling order shall include suggested time

limits for items specified in Rule 16(b); the name and address of

every witness to be deposed, including the proposed time, date,

and place for each deposition; the estimated cost of all discovery,

including attorney’s fees; the name, address, and telephone number

of lead counsel for each party; the date the complaint was filed

and the date the complaint was answered.          The proposed scheduling

order may also include such other matters as the parties deem

appropriate.      Below the signatures of counsel the proposed order

should include a date line and a signature line for the Court.               A

copy of the proposed scheduling order must be served upon each

party.    The proposed scheduling order will be carefully considered

and, subject to such changes as may be deemed appropriate, either

adopted by the court or discussed with counsel in person or by

conference call.

                  NOTICE REGARDING SELF-REPRESENTATION

     Parties that are separate artificial legal entities, such as

corporations and limited liability companies, must be represented

by an attorney.       Palazzo v. Gulf Oil Corp. 764 F.2d 1381, 1385

(11th Cir. 1985); Nat’l Indep. Theatre Exhibitors, Inc. v. Buena

Vista Distribution Co.,        748 F.2d 602, 609 (11th Cir. 1984).

Accordingly, any such parties who are not presently represented by

counsel    should    secure   representation     expeditiously     to    avoid

sanctions, including possible default judgment and/or dismissal.


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                       SUBJECT MATTER JURISDICTION

     Subject      matter   jurisdiction     cannot   be   waived,    and     the

Eleventh Circuit Court of Appeals has on occasion dismissed cases

sua sponte upon learning of a lack of diversity while the cases

were on appeal—even though no party raised the issue before the

appeal and even though the cases were tried to final verdict and

judgment.     See, e.g., Purchasing Power, LLC v. Bluestem Brands,

Inc., 851 F.3d 1218, 1228 (11th Cir. 2017).                Therefore, it is

critical that diversity jurisdiction be established early in the

litigation,     particularly      in    cases   involving      unincorporated

associations,      limited    liability     companies,    limited    liability

partnerships, partnerships, and similar entities that are, for

diversity purposes, citizens of every state in which one of their

members resides. E.g., id. at 1220, (“When determining citizenship

of the parties for diversity jurisdiction purposes, a limited

liability company (LLC) is a citizen of every state that any member

is a citizen of.”).

     In   cases    where     subject   matter   jurisdiction    is   based    on

diversity of the parties, the parties shall state in the proposed

scheduling order the citizenship of each party.              If the parties

cannot agree on the citizenship of the parties without some

discovery on the issue, they shall state that in the proposed

scheduling order.




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                              DISCOVERY PERIOD

      It is the Court’s expectation that absent good cause shown

all discovery will be completed within six months after the filing

of responsive pleadings or a motion staying filing of responsive

pleadings.     If the parties believe a greater discovery time is

necessitated, you must state why in the proposed order.                  The

parties are directed to include in the proposed scheduling order

the specific date that discovery will expire.            Multiple requests

for extensions of the discovery period are strongly discouraged

and   will   rarely   be   granted    absent   exceptional   circumstances.

Agreement to extensions by all the parties does not constitute

exceptional circumstances.

                      COMPLETE AND TIMELY DISCOVERY

      If disclosures and/or discovery responses are not complete,

including a separate listing of the name and last known address of

each potential witness, then the failure to provide complete

disclosure may result in the exclusion of testimony from any

witness who is not properly disclosed.            It is not sufficient to

disclose the identity of potential witnesses by simply describing

categories    of   persons,    such   as   “all   of   plaintiff’s   medical

providers contained in plaintiff’s medical records.”            Disclosure

shall be by specific name, if known or reasonably ascertainable.

If specific disclosure is not possible, an explanation as to why

such disclosure is not possible shall be given.


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     No discovery request may be served, without leave of court,

unless the due date for the response to the request under the rules

occurs prior to the expiration of the discovery period.

     The parties shall be under a continuing duty to supplement

all disclosures and responses in accordance with Rule 26(e).                 When

such supplementation is required, the supplemental responses shall

be served upon the opposing party within fourteen days of learning

of the information requiring the supplemental response, unless the

Court otherwise extends the supplemental response period upon

motion of a party.

                              EXPERT DISCOVERY

     Any party who desires to use the testimony of an expert

witness will be required to designate the expert according to the

following    schedule,   so    that   the    expert   will    be     identified

sufficiently early in the discovery period to give the opposing

party the opportunity to depose the expert.           A plaintiff desiring

to use the testimony of an expert must disclose the identity of

the expert within 90 days after the filing of the last answer of

the defendants named in the original complaint.                    A defendant

desiring to use the testimony of an expert must disclose the

identity of the expert within 120 days after the filing of the

last answer of the defendants named in the original complaint.                In

the event a defendant designates an expert where plaintiff has not

previously    designated      an   expert,    plaintiff      shall    have    an


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additional 30 days to designate a rebuttal expert witness.                  Any

disclosure of an expert witness retained or specially employed to

provide expert testimony in the case or one whose duties as a

party’s employee regularly involve giving expert testimony must be

accompanied by a written report prepared and signed by the expert

in accordance with the requirements of Rule 26(a)(2)(B).                    Any

disclosure of an expert witness who is not required to provide a

written expert report under Rule 26(a)(2)(B) must comply with Rule

26(a)(2)(C) and disclose the identity of the witness, the subject

matter    on   which   the   witness   is    expected   to   present     expert

testimony, and a summary of the facts and opinions to which the

witness is expected to testify.             The provisions of this order

concerning the identification of expert witnesses may not be

changed by the Joint Scheduling/Discovery Order submitted by the

parties.

     Unless otherwise ordered by the Court, any motions to exclude

expert testimony pursuant to Federal Rule of Evidence 702 and/or

Daubert v. Merrell Dow Pharm., Inc., 509 U.S. 579 (1993) shall be

filed within 21 days after the court’s ruling on the last pending

motion for summary judgment.           If no summary judgment motion is

filed by the date that dispositive motions are due, then any

Daubert motions shall be filed within 21 days after the due date

for filing dispositive motions.             If an evidentiary hearing is

necessary for the resolution of a             Daubert motion, the party


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requesting the hearing shall file a written request for hearing at

the time of the filing of the motion or the response to the motion.

The parties shall include the foregoing requirements described in

this paragraph in their proposed scheduling order.

                            DISPOSITIVE MOTIONS

     All dispositive motions shall be filed within 45 days of the

close of discovery and briefs in support of the motions shall not

exceed 20 pages unless otherwise ordered by the Court.              Pursuant

to Local Rule 7, respondent shall have 21 days and no more than 20

pages to respond to the dispositive motion and movant shall have

14 days thereafter and no more than 10 pages to file a reply.            The

parties shall include in the proposed scheduling order the specific

date by which dispositive motions shall be filed.

                          AMENDMENT OF PLEADINGS

     A deadline for amending pleadings shall be included in the

proposed scheduling order.          A party is not required to obtain

consent or leave of court to file amended pleadings as long as the

amended pleadings are filed prior to the deadline in the scheduling

order.

                    ORDERS REGARDING CONFIDENTIALITY

     All filings shall be a matter of public record and shall only

be sealed from public disclosure in limited circumstances by order

of the Court.     The Court will closely scrutinize all requests for

confidentiality protective orders.          Even when such requests are


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deemed     appropriate,      the   Court     finds,    absent    compelling

circumstances, that such orders do not apply to exclude evidence

from public disclosure when that evidence is relied upon in support

of or opposition to any motion or relevant issue in any hearing or

trial.    There is a presumption that any evidence relied upon in a

filed motion or in opposition to any such motion or to be used in

a hearing or trial shall be a public record.             Accordingly, when

materials are to be used in the foregoing manner, a party will not

be allowed to file the materials under seal just because they are

covered by a discovery protective order.

                  REQUESTS TO EXCEED PAGE LIMITATIONS

     Requests for extension of page limitations should rarely be

made because such requests generally reflect a failure to focus

upon the relevant issues in a concise and thoughtful manner.

Therefore, extensions will only be granted in exceptional cases.

When an extension of pages is permitted, the brief shall include

a table of contents.

                     CASES REMOVED FROM STATE COURT

     For all cases removed from state court that had motions and/or

discovery requests pending prior to removal, the parties shall

address      in    the     proposed       scheduling    order     how    the

motion[s]/discovery requests shall be addressed in this Court,

including whether the motion/discovery request should be deemed

moot, whether the motion is ripe for ruling, and whether the


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motion/discovery request should be addressed in accordance with

the schedule set forth in the proposed scheduling order.

                         DISCLOSURE STATEMENT

     Each nongovernmental corporate party must file a statement

that identifies any parent corporation and any publicly held

corporation that owns 10% or more of its stock or states that there

is no such corporation.     The deadline for filing the statement is

set forth in Fed. R. Civ. P. 7.1, and if not filed sooner, the

statement must in any event be filed within 14 days of the date of

this Order. A supplemental statement must be filed upon any change

in the information that the statement requires.

                            COURTESY COPIES

     Do not send courtesy copies of letters, motions or briefs to

the judge or chambers.

     SO ORDERED, this March 18, 2019.

                                s/ CLAY D. LAND
                                CLAY D. LAND
                                CHIEF UNITED STATES DISTRICT JUDGE




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